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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                          GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

        Plaintiff,

v.                                              CASE NO.: 1:02-CR-024-SPM

NATHANIEL WILLIAMS,

     Defendant.
________________________________/


     ORDER ADOPTING MAGISTRATE’S REPORT AND RECOMMENDATION

        THIS CAUSE comes before the Court upon the Magistrate Judge's Report

and Recommendation (doc. 411) dated July 26, 2007. The parties were furnished

copies and were afforded an opportunity to file objections.       Defendant filed

objections (doc. 412) on August 18, 2007. Pursuant to Title 28, United States Code,

Section 636(b)(1), this Court has made a de novo determination of those portions

to which an objection has been made and will address each objection below.

        Regarding objections one, three, six, nine, ten, eleven and twelve where

defendant argues that there was a discrepancy between the amount of drugs that

he pleaded to and the actual amount of drugs involved in his offense, this Court

finds no merit. Williams had an opportunity to object to the amount of drugs when

he executed the Plea Agreement (doc. 146) and the Statement of Facts (doc. 147)
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on which his conviction and sentence were based. Williams did not do so.

Additionally, given the significant downward departure that Williams received at his

sentencing, this court agrees with the rational and assessment of the Magistrate

Judge and finds that Williams was not prejudiced by this difference in the amount

of drugs for which he was sentenced and the amount of drugs that he now claims

were actually attributable to him.

       Regarding objections two, four, seven and eight, where Williams argues that

he had no opportunity to file an appeal, this Court also finds no merit. Williams had

until ten days after the final ruling on his post-sentence motions to file an appeal.

This final ruling was filed on November 15, 2005 (doc. 381). Williams moved to

remove his attorney on September 1, 2005 (doc. 380). Therefore, on the basis of

Williams own request, he had no attorney at the time that he would have been in a

position to request an appeal.       When filing his motion to vacate his sentence,

Williams did not indicate the request for an attorney, as he had been advised by this

court to do (see doc. 381 p. 3)        Furthermore, at the time of sentencing, on

December 13, 2002, this Court personally informed Williams of his right to appeal.

It was Williams’ responsibility to either request that counsel be appointed so that he

or as he was instructed at his sentencing, to request the clerk of the court to file a

notice of appeal on his behalf.

       Regarding objection five, where Williams argues that the government failed

to file a notice of sentencing enhancement, the defendant is mistaken.            The

government did in fact file an Information and Notice of Prior Convictions on July 25,
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2002, more than a month before the August 28, 2002 hearing in which Williams

entered his guilty plea. Therefore, this objection has no merit.

       Even in light of the “Haines rule”1, which prescribes a liberal construction of

pro se inmate filings, Defendant’s claims lack merit. The magistrate judge carefully

considered the factual history available to him in making his decision, and even

considering all facts in the light most favorable to Defendant, the motion fails to state

a claim for relief. Defendant’s objections do not rise to the level of showing

entitlement to any relief. Defendant has not demonstrated any error in the

magistrate’s report or the findings contained therein.

       Accordingly, it is

       ORDERED AND ADJUDGED as follows:

       1.       The Magistrate Judge's Report and Recommendation (doc. 411) is

                adopted and incorporated by reference in this order.

       2.       Defendant’s §2255 post-conviction motion (doc. 382) is hereby

                denied.

       DONE AND ORDERED this twenty-fourth day of August, 2007.




                                           s/ Stephan P. Mickle
                                        Stephan P. Mickle
                                        United States District Judge




       1
           Haines v. Kerner, 404 U.S. 519 (1972).
